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                                          October 27, 2021

VIA ECF
Honorable Madeline Cox Arleo, U.S.D.J.
United States District Court
Martin Luther King, Jr. Federal
   Building & Courthouse
50 Walnut Street
Newark, New Jersey 07102
       Re:     Pacira BioSciences, Inc. v. American Society of Anesthesiologists, Inc., et al.
               Case No. 21-cv-9264-MCA-JSA
Dear Judge Arleo:
       Defendants American Society of Anesthesiologists, Inc. (the “ASA”) and Drs. Evan D.
Kharasch, Richard Brull, Faraj W. Abdallah, Brian M. Ilfeld, James C. Eisenach, Rodney A.
Gabriel, and Mary Ellen McCann respectfully submit this letter in response to Plaintiff, Pacira
BioSciences, Inc.’s (“Pacira”), Request for Judicial Notice. For the reasons set forth below, the
Court should reject that Request out of hand.
         First, the Request is procedurally improper. Defendants’ motion to dismiss the Complaint
for failure to state a claim is fully briefed and pending before the Court. Pacira’s attempt to stave
off dismissal of its deficient pleading by augmenting it with a document—an editorial, no less—
that is not only external to that pleading but was written well after it was filed and challenged is
both meritless and frivolous. As a general rule, a court faced with such a motion may “consider
only the allegations contained in the complaint, exhibits attached to the complaint and matters of
public record.” Schmidt v. Skolas, 770 F. 3d 241, 249 (3d Cir. 2014).
         There are two exceptions to that rule, neither of which obtains here. First, a court can
consider the text of an undisputedly authentic document that is integral to a plaintiff’s claim. In
re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997). In considering the
applicability of this exception, “[w]hat is critical is ‘whether the claims in the complaint are
“based” on an extrinsic document.’” In re Horsehead Holding Corp. Sec. Litig., 2018 WL
4838234, at *9 (D. Del. Oct. 4, 2018), adopted by In re Horsehead Holding Corp. Sec. Litig., 2019
WL 1409454 (D. Del. Mar. 28, 2019). Pacira’s claims are obviously not based on the just
published editorial it now trumpets. Second, Fed. R. Evid. 201(b) permits a court to take judicial
notice of a fact that is “not subject to reasonable dispute because it: (1) is generally known within
the trial court’s territorial jurisdiction; or (2) can be accurately and readily determined from sources
whose accuracy cannot reasonably be questioned.” In such circumstances, a court may take judicial
notice of a document’s existence but must not take notice of the truth of any matters that can be
reasonably contested. See Pennsylvania Dep’t of Human Servs. v. United States, 897 F.3d 497,
514 (3d Cir. 2018). Beyond asking the Court to consider as part of its Complaint a document that
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did not even exist when it was written—much less form the basis of that pleading—Pacira asks
the Court to credit the substance of that document as part of its Complaint. As such, the Request
falls within neither exception to the general rule that a Complaint must be judged on its allegations,
exhibits and matters of public record.
        Beyond its manifest procedural infirmity, Pacira’s Request is substantively unavailing.
The editorial it asks the Court to treat as part of its Complaint concerns studies, meta-analyses, and
other papers that rely on falsified data—i.e., primary data from randomized trials or retrospective
patient analyses and falsified or fraudulent peer review. As noted in Defendants’ briefing, such
conduct, which is not at issue in this case, raises far different policy, First Amendment, and other
legal concerns. As such, the editorial has no bearing on any of Pacira’s claims regarding the ASA
articles at issue in this case. Pacira’s attempt to bolster its allegations regarding those articles
based on an editorial regarding falsified data is, on its face, untenable.
       For these reasons, the Court should deny Pacira’s Request for Judicial Notice and decide
Defendants’ motion to dismiss based on the parties’ respective submissions on that motion. Thank
you for your consideration of this letter.

                                       Respectfully submitted,



                                       Kevin H. Marino
